Case 2:05-cr-20082-.]DB Document 30 Filed 05/23/05 Page 1 of 2 Page|D 23

UNITED STATES DISTRICT COURT 1 x - 'j/
FOR THE WESTERN DISTRICT OF TENNESSEE y
EASTERN DIVISION `i‘ § :*'"’ F-'-"-F; '

 

 

UNITED sTATEs oF AMERICA, f f ,
Plaintiff,

vs. Cr. No. 05-20082-}3

RODERCUS FREEMAN,

Defendant.

 

ORDER GRANTING MOTION TO
CONTINUE SUPPRESSION HEARING AND REPORT DATE

 

Upon Motion by the Defendant for a continuance ot` the suppression hearing and report date
and for good cause shown, the Court hereby GRANTS the motion. The Court FINDS, pursuant to
18 U.S.C. §3 l6l(h)(l)(F), that this period of delay shall be excluded in computing the time Within
Which the trial of this case must commence

Accordingly, the Court hereby RESETS the suppression hearing for from May 26, 2005 to

 

 

 

JLW],€/ 025 , 2005 at IO.' C)O O~-M- and RESETS the report date to
\/wm, 25 ,20053t lO:oOaM
n is 53 0R1)ERED, this the Zz-Qday ar ,2005.

 

_oN BLE J. DANIEL B`REEN
IT sTATEs DISTRICT JUI)GE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CR-20082 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

